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        Exhibit 1
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                                                US District Court Docket
                                       United States District Court, Massachusetts
                                                        (Boston)
                                        This case was retrieved on 10/05/2023

Header


Case Number: 1:23cv12300                                                                            Class Code: Open
Date Filed: 10/05/2023                                                                                Statute: 28:1332
Nature of Suit: Other Contract (190)                                                           Jury Demand: Plaintiff
Cause: Diversity-(Citizenship)                                                           Demand Amount: $5,000,000
Lead Docket: None                                                                      NOS Description: Other Contract
Other Docket: None
Jurisdiction: Diversity




Participants

Litigants                                                    Attorneys
Hadj Ghalem                                                  D. Greg Blankinship
Plaintiff                                                    ATTORNEY TO BE NOTICED
                                                             Finkelstein, Blankinship, Frei-Pearson & Garber, LLP
                                                             One North Broadway Suite 900
                                                             White Plains, NY 10601
                                                             USA
                                                             914-298-3290 Email:Gblankinship@fbfglaw.Com
Martin Foth Willmann                                         D. Greg Blankinship
Plaintiff                                                    ATTORNEY TO BE NOTICED
                                                             Finkelstein, Blankinship, Frei-Pearson & Garber, LLP
                                                             One North Broadway Suite 900
                                                             White Plains, NY 10601
                                                             USA
                                                             914-298-3290 Email:Gblankinship@fbfglaw.Com
Progress Software Company
Defendant
Ipswitch, Inc.
Defendant
UMass Chan Medical School
Defendant


Proceedings

#        Date               Proceeding Text                                                    Source
1        10/05/2023         COMPLAINT against Ipswitch, Inc., Progress Software Company,
                            UMass Chan Medical School Filing fee: $ 402, receipt number
                            AMADC-10072987 (Fee Status: Filing Fee paid), filed by Hadj
                            Ghalem, Martin Foth Willmann. (Attachments: # 1 Exhibit 1-
                            Notice of Data Security Incident to Hadj Ghalem, # 2 Exhibit 2 -
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                            1:23cv12300, Ghalem Et Al V. Progress Software Company Et Al

 #         Date                Proceeding Text                                                  Source
                               Notice of Data Security Incident to Martin Willmann, # 3 Civil
                               Cover Sheet, # 4 Category Form)(Blankinship, D.) (Entered:
                               10/05/2023)

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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 HADJ GHALEM, and MARTIN FOTH
 WILLMANN on behalf of themselves and all Case No. _____________
 others similarly situated,

                                Plaintiffs,        CLASS ACTION COMPLAINT

               vs.                                 JURY TRIAL DEMANDED
 PROGRESS SOFTWARE COMPANY,
 IPSWITCH, INC. and UMASS CHAN
 MEDICAL SCHOOL,
                     Defendants.



                                CLASS ACTION COMPLAINT

       Plaintiffs Hadj Ghalem, individually and on behalf of all other similarly situated persons,

by and through their attorneys, Finkelstein, Blankinship, Frei-Pearson & Garber, LLP, as and for

their class action complaint against Defendants Progress Software Company Ipswitch, Inc. and

UMass Chan Medical School, respectfully allege, upon their own knowledge or, where they lack

personal knowledge, upon information and belief including the investigation of their counsel, as

follows:

                                PRELIMINARY STATEMENT

       1.       Plaintiffs and other Class Members are individuals whose Personally Identifiable

Information (“PII”) including names, dates of birth, and Social Security numbers were

compromised due to Defendants’ failure to implement and maintain reasonable safeguards to

protect such information in Defendant’s custody and control.

       2.       This class action seeks to redress Defendants’ unlawful and negligent disclosure of

Personal Information in a massive data breach which occurred on May 27, 2023 (the “Data Breach”

or “Breach”), in violation of state statutory and common law. During that period, Defendants’
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inadequate security measures allowed unauthorized individuals to access Defendants’ computer

network and obtain a copy of Plaintiffs’ and other Class Members’ Personal Information.

       3.       As a result of the Data Breach, Plaintiffs and Class Members are at a substantially

increased risk of identity theft and fraud and have suffered ascertainable losses in the form of the

loss of the benefit of the bargain, out-of-pocket expenses, and the value of their time reasonably

incurred to remedy or mitigate the effects of the attack.

       4.       In addition, Plaintiffs’ and Class Members’ personal information—which was

entrusted to Defendants and their officials and agents—was compromised and unlawfully accessed

due to the Data Breach.

       5.       Plaintiffs bring this class action lawsuit on behalf of those similarly situated to

address Defendants’ failure to safeguard Plaintiffs’ and Class Members’ Personal Information that

Defendants collected and maintained, and for Defendants’ failure to provide timely and adequate

notice to Plaintiffs and other Class Members that their Personal Information had been subject to

the unauthorized access of an unknown third party.

       6.       Defendants maintained the Personal Information in a negligent and/or reckless

manner. In particular, the Personal Information was maintained on Defendants’ computer system

and network in a condition vulnerable to cyberattacks.         Upon information and belief, the

mechanism of the cyberattack and potential for improper disclosure of Plaintiffs’ and Class

Members’ Personal Information was a known risk to Defendants, and thus Defendants were on

notice that failing to take steps necessary to secure the Personal Information from those risks left

that property in a dangerous condition and increased the risk of theft.




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        7.       Plaintiffs’ and Class Members’ identities are now at risk because of Defendants'

negligent conduct because the Personal Information that Defendants collected and maintained is

now in the hands of data thieves.

        8.       Armed with the Personal Information accessed in the Data Breach, data thieves can

commit a variety of crimes including opening new financial information in Class Members’ names,

taking out loans in Class Members’ names, using Class Members’ names to obtain medical

services, and using Class Members’ health information to target other phishing and hacking

intrusions based on their individual.

        9.       As a result of the Data Breach, Plaintiffs and Class Members have been exposed to

a heightened and imminent risk of medical and financial fraud and identity theft. Plaintiffs and

Class Members must now and in the future closely monitor their financial accounts and medical

information to guard against identity theft.

        10.      Plaintiffs and Class Members may also incur out of pocket costs for purchasing

credit monitoring services, credit freezes, credit reports, or other protective measures to deter and

detect identity theft.

        11.      By their Complaint, Plaintiffs seek to remedy these harms on behalf of themselves

and all similarly situated individuals whose Personal Information was accessed during the Data

Breach.

        12.      Plaintiffs seek remedies including, but not limited to, compensatory damages,

treble damages, punitive damages, reimbursement of out-of-pocket costs, and injunctive relief,

including improvements to Defendants’ data security system, future annual audits, and adequate

credit monitoring services funded by Defendants.




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        13.     Accordingly, Plaintiffs bring this action against Defendants seeking redress for

their unlawful conduct, and asserting claims for: (i) negligence, (ii) breach of express contract, (iii)

breach of implied contract, (iv) unjust enrichment, (v) breach of implied covenant of good faith

and fair dealing, (vi) negligent misrepresentation, (vii) invasion of privacy by intrusion, (viii)

breach of fiduciary duty, and (ix) breach of confidence.

                                  JURISDICTION AND VENUE

        14.     This Court has subject-matter jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. §1332(d)(2). The amount in controversy exceeds $5 million, exclusive of

interest and costs, there are more than 100 members in the proposed class, and there are thousands

of members of the class that are citizens of states different from Defendant.

        15.     This Court has personal jurisdiction over Defendants because they are

headquartered in Massachusetts, their principal places of business are in Massachusetts, and they

regularly conduct business in Massachusetts.

        16.     This Court also has personal jurisdiction over the Defendant Progress Software

Company because it is headquartered in and regularly conducts business in Massachusetts.

        17.     This Court also has personal jurisdiction over the Defendant Ipsquitch, Inc. because

it is headquartered in and regularly conducts business in Massachusetts.

        18.     Venue is proper in this Court pursuant to 28 U.S.C. §1391 because Defendants

reside in this District, a substantial part of the events, acts, and omissions giving rise to plaintiffs’

claims occurred in, was directed to, and/or emanated from this District, Defendants are based in

this District, Defendants maintain customers’ Private Information in the District, and Defendants

have caused harm to Plaintiffs and Class Members residing in this District.




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                                         THE PARTIES

       19.     Plaintiff Hadj Ghalem is a Massachusetts resident residing in Melrose, Middlesex

County, Massachusetts.

       20.     In order to receive medical insurance services from the medical school UMass Chan

for his son, Plaintiff Ghalem had to provide his Personal Information, as well as the Personal

Information of his wife and two sons, to Defendants.

       21.     Plaintiff Martin Foth Willmann is an Oregon resident residing in Portland,

Multnomah County, Oregon.

       22.     In order to receive banking services from Umpqua Bank, his personal bank,

Plaintiff Willmann had to provide his Personal Information to Defendants.

       23.     Plaintiffs trusted that Defendants would use reasonable measures to protect their

information, including complying with state law.

       24.     Plaintiffs suffered actual injury in the form of damages to and diminution of the

value of their Personal Information—which they entrusted to Defendants and which was

compromised in the Data Breach.

       25.     Plaintiffs suffered imminent and impending injury arising from the substantially

increased risk of fraud, identity theft, and misuse from their Personal Information being accessed

and exfiltrated by hackers. This injury was exacerbated by Defendants’ delay in revealing the

Data Breach.

       26.     Plaintiff Ghalem has received more spam calls since the Data Breach, and has

experienced increased agitation and stress as a result of the breach.

       27.     Plaintiff Willmann’s information was used in an attempt to open an online Chime

Bank account in his name using his email and social security number. He has spent significant



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time with his own bank and the FTC reporting this fraud and ensuring his information is secure.

He has received more spam calls since the Data Breach, and has experienced increased agitation

and stress as a result of the breach.

       28.      Plaintiffs have a continuing interest in ensuring that their Personal Information,

which remains with Defendant, is protected and safeguarded from future breaches.

       29.      Defendant Progress Software Company is a Massachusetts corporation with its

principal address located at 84 State Street, Boston, MA, 02109.

       30.      Defendant Ipswitch, Inc. is a Massachusetts corporation with its principal address

located at 15 Wayside Road, Fourth Floor, Burlington, MA 01803.

       31.      Defendant UMass Chan is a Massachusetts state university with its principal

address located at 55 Lake Avenue North, Worcester, MA 01655.

                                   FACTUAL ALLEGATIONS

       A.       Defendants’ Collection Of Personal Information.

       32.      Defendants obtain Class Members’ Personal Information when customers register

to receive services. This Personal Information includes, upon information and belief:

                a.     Contact information;

                b.     Authentication information such as driver’s licenses and Social Security

                       Numbers.

       33.      Obtaining this information is a precondition of receiving services from Defendants.

       34.      As a result, Defendants’ systems store the PII and PHI of thousands of customers

who have received their insurance services.




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        B.       The Data Breach.

        35.      Defendants Progress Software and Ipswitch, Inc., produce and distribute MoveIt, a

“[m]anaged File Transfer and automation software that guarantees the security of sensitive files

both at-rest and in-transit, ensures reliable business processes and addresses data security

compliance requirements.” 1

        36.      On May 27, 2023 and May 30, 2023, the systems that Defendants use to store the

private information on MoveIt were accessed by unauthorized third-party hackers, who exfiltrated

Plaintiffs’ and Class Members’ sensitive Personal Information—including, inter alia, their names,

contact information and Social Security numbers. 2 The breach potentially affected millions of

individuals, including Umpqua Bank and UMass Chan patrons. 3

        37.      Both Plaintiff Willmann and Plaintiff Ghalem were notified by Umpqua Bank and

Defendant UMass Chan that their social security numbers and other personal information was

breached. 4

        C.       Defendants Failed to Safeguard Customers’ Information.

        38.      Defendants failed to exercise reasonable care in protecting customers’ Personal

Information.

        39.      Defendants have a non-delegable duty under Massachusetts and Oregon law to

ensure that all information they collect and store is secure, and that any associated entities with


1
  See Progress Software, corporate brochure, progress-corporate-brochure-2023-rgb.pdf
(d117h1jjiq768j.cloudfront.net) (last accessed August 24, 2023).
2
  See United States Cybersecurity and Infrastructure Security Agency, #StopRansomware: CL0P Ransomware Gang
Exploits CVE-2023-34362 MOVEit Vulnerability, available at https://www.cisa.gov/news-events/cybersecurity-
advisories/aa23-158a
3
  See CBS New Boston, Massachusetts says 134,000 were affected by UMass Chan data breach, available at
https://www.cbsnews.com/boston/news/umass-chan-data-breach-massachusetts-moveit/; KGW8 News, Umpqua
Bank Confirms it was impacted by same global cyberattach that included Oregon DMV, available at Umpqua Bank
among victims in global hack that also hit Oregon DMV | kgw.com.
4
  See Data Security Incident Notice to Plaintiff Willmann (Ex. 1); Data Security Incident Notice to Plaintiff Ghalem
(Ex. 2).

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whom they shared information maintain adequate and commercially reasonable data security

practices to ensure the protection of customers’ Personal Information.

        40.      Defendants know or should know that their customers must trust that they are

keeping their Personal Information private and secure. As Defendant Progress Software’s website

states, Progress is “committed to protecting the privacy of individuals who visit the Company’s

web sites, individuals who register to use our services, and individuals who register to attend the

Company’s corporate events.” 5

        41.      Umpqua Bank’s privacy policy notes: “[w]e use reasonable physical, electronic,

and procedural safeguards that comply with federal standards to protect and limit access to

personal information. This includes device safeguards and secured files and buildings.” 6

        42.      UMass Chan’s privacy policy notes: “UMass Chan is committed to protecting the

information that is critical to teaching, research, the Medical School’s many varied activities, our

business operation (ForHealth), and the communities we support, including students, faculty, staff

members, and the public.” 7

        43.      If Defendants’ customers lacked trust in them or knew they would insecurely store,

safeguard, or transmit their personal information, then they would not disclose health information

to Defendants and instead choose a different provider for services.

        44.      More specifically, to provide services to customers, Defendants must keep those

customers’ Personal Information private and secure. If their customers lacked trust in Defendants

or knew Defendants would insecurely store, safeguard, or transmit their personal information or




5
  See Progress Software’s privacy policy, available at https://www.progress.com/legal/privacy-policy.
6
  See Umpqua Bank’s privacy policy, available at https://www.umpquabank.com/privacy/.
7
  See UMass Chan’s privacy notice, available at
https://www.umassmed.edu/globalassets/it/documents/policies/information-security-policy.pdf

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fail to establish or follow data security policies and protocols, insured parties would not disclose

health information to Defendants and would choose a different provider.

       D.      Defendants Violated Massachusetts and Federal Law’s Requirements to

               Safeguard Data.

       45.     Each Defendant “owns or licenses personal information about a resident of the

Common-wealth” and was thus required under Massachusetts Law to “develop, implement, and

maintain a comprehensive information security program that is written in one or more readily

accessible parts and contains administrative, technical, and physical safeguards that are appropriate

to . . . the need for security and confidentiality of both consumer and employee information.” 201

CMR 17.03.

       46.     Defendants failed to maintain the privacy and security of their customers’ Personal

Information and failed to inform customers that their PII and PHI was disclosed. Indeed,

Defendants violated Massachusetts Law by failing to:

               a.      Maintain an adequate data security system to reduce the risk of data

                       breaches and cyber-attacks;

               b.      Adequately protect Plaintiffs’ and Class Members’ Personal Information.

       47.     HIPAA requires covered entities to protect against reasonably anticipated threats

to the security of PHI. Covered entities must implement safeguards to ensure the confidentiality,

integrity, and availability of PHI. Safeguards must include physical, technical, and administrative

components.

       48.     The HIPAA Breach Notification Rule, 45 CFR §§164.400-414, also required

Defendants to provide notice of the breach to each affected individual “without unreasonable delay

and in no case later than 60 days following discovery of a breach.



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       49.      Based on information and belief, Defendants’ Data Breach resulted from a

combination of insufficiencies that demonstrate Defendants failed to comply with safeguards

mandated by HIPAA regulations. Defendants’ security failures include, but are not limited to, the

following:

             a. Failing to ensure the confidentiality and integrity of electronic protected health

                information that Defendants create, receive, maintain, and transmit in violation of

                45 C.F.R. §164.306(a)(1);

             b. Failing to implement technical policies and procedures for electronic information

                systems that maintain electronic protected health information to allow access only

                to those persons or software programs that have been granted access rights in

                violation of 45 C.F.R. §164.312(a)(1);

             c. Failing to implement policies and procedures to prevent, detect, contain, and correct

                security violations in violation of 45 C.F.R. §164.308(a)(1);

             d. Failing to identify and respond to suspected or known security incidents; mitigate,

                to the extent practicable, harmful effects of security incidents that are known to the

                covered entity in violation of 45 C.F.R. §164.308(a)(6)(ii);

             e. Failing to protect against any reasonably-anticipated threats or hazards to the

                security or integrity of electronic protected health information in violation of 45

                C.F.R. §164.306(a)(2);

             f. Failing to protect against any reasonably anticipated uses or disclosures of

                electronically protected health information that are not permitted under the privacy

                rules regarding individually identifiable health information in violation of 45

                C.F.R. §164.306(a)(3);



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              g. Failing to ensure compliance with HIPAA security standard rules by their

                 workforce in violation of 45 C.F.R. §164.306(a)(94);

              h. Impermissibly and improperly using and disclosing protected health information

                 that is and remains accessible to unauthorized persons in violation of 45 C.F.R.

                 §164.502, et seq.;

              i. Failing to effectively train all members of their workforce (including independent

                 contractors) on the policies and procedures with respect to protected health

                 information as necessary and appropriate for the members of their workforce to

                 carry out their functions and to maintain security of protected health information in

                 violation of 45 C.F.R. §164.530(b) and 45 C.F.R. §164.308(a)(5); and

              j. Failing to design, implement, and enforce policies and procedures establishing

                 physical and administrative safeguards to reasonably safeguard protected health

                 information, in compliance with 45 C.F.R. §164.530(c).

        50.      Defendants were also prohibited by the Federal Trade Commission Act (“FTCA”)

(15 U.S.C. §45) from engaging in “unfair or deceptive acts or practices in or affecting commerce.”

The FTC has concluded that a company’s failure to maintain reasonable and appropriate data

security for consumers’ sensitive personal information is an “unfair practice” in violation of the

FTCA. See, e.g., FTC v. Wyndham Worldwide Corp., 799 F.3d 236 (3d Cir. 2015).

        51.      The FTC has promulgated numerous guides for businesses that highlight the

importance of implementing reasonable data security practices. According to the FTC, the need

for data security should be factored into all business decision-making. 8



8
 Start With Security: A Guide for Business, FED. TRADE COMM’N,
https://www.ftc.gov/system/files/documents/plain-language/pdf0205-startwithsecurity.pdf (last visited May 26,
2023).

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        52.      In 2016, the FTC updated its publication, Protecting Personal Information: A Guide

for Business, which established cybersecurity guidelines for businesses. 9 The guidelines note that

businesses should protect the personal customer information that they keep; properly dispose of

personal information that is no longer needed; encrypt information stored on computer networks;

understand their network’s vulnerabilities; and implement policies to correct any security

problems.

        53.      The FTC further recommends that companies not maintain Private Information

longer than is needed for authorization of a transaction; limit access to private data; require

complex passwords to be used on networks; use industry-tested methods for security; monitor for

suspicious activity on the network; and verify that third-party service providers have implemented

reasonable security measures.

        54.      The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the FTCA, 15 U.S.C. §45. Orders resulting from

these actions further clarify the measures businesses must take to meet their data security

obligations.

        55.      Defendants failed to properly implement basic data security practices. Defendants’

failure to employ reasonable and appropriate measures to protect against unauthorized access to

customers’ Private Information constitutes an unfair act or practice prohibited by Section 5 of the

FTCA, 15 U.S.C. §45.



9
 Protecting Personal Information: A Guide for Business, FEDERAL TRADE COMMISSION ,available at:
https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-personal-information.pdf (last
visited May 26, 2023).

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        56.    Defendants were at all times fully aware of its obligation to protect the Private

Information of their customers because of its position as a trusted healthcare provider. Defendants

were also aware of the significant repercussions that would result from its failure to do so.

        57.    Defendants were fully aware of their obligations to implement and use reasonable

measures to protect the Personal Information provided to them by their customers but failed to

comply with basic guidelines that would have prevented the Data Breach from occurring.

        E.     Plaintiffs’ and Class Members’ Personal Information Is Highly Valuable.

        58.    Defendants were or should have been aware that they were collecting highly

valuable data, for which Defendants knew or should have known there is an upward trend in data

breaches in recent years.

        59.    As early as 2014, the FBI alerted the healthcare industry that they were an

increasingly preferred target of threat actors, stating “[t]he FBI has observed malicious actors

targeting healthcare related systems, perhaps for the purpose of obtaining Protected Health

Information (PHI) and/or Personally Identifiable Information (PII)” so that these companies can

take the necessary precautions to thwart such attacks. 10

        60.    Further, Cathy Allen, CEO of Shared Assessments, a cyber-risk management

group, stated that “just the types of test proscribed might indicate a type of illness that you would

not want employers or insurance companies to have. Thieves often steal and resell insurance data

on the internet . . . having other information makes the data more valuable and the price higher.”
11
     Personal Information is a valuable commodity to identity thieves. Compromised Personal

Information is traded on the “cyber black-market.” As a result of recent large-scale data breaches,


10
    Jim Finkle, FBI warns healthcare firms they are targeted by hackers, REUTERS, Aug. 20, 2014,
http://www.reuters.com/article/us-cybersecurity-healthcare-fbi-idUSKBN0GK24U20140820        (last
accessed Feb. 28, 2023).
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   Id.
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identity thieves and cyber criminals have openly posted stolen credit card numbers, Social Security

numbers and other Personal Information directly on various dark web 12 sites making the

information publicly available. 13

        61.     Healthcare data is especially valuable on the black market. According to one report,

a healthcare data record may be valued at up to $250 per record on the black market, compared to

$5.40 for the next highest value record (a payment card). 14

        62.     According to a Reuters investigation that included interviews with nearly a dozen

healthcare executives, cybersecurity investigators, and fraud experts, medical data for sale on

underground markets “includes names, birth dates, policy numbers, diagnosis codes and billing

information” which fraudsters commonly use “to create fake IDs to buy medical equipment or

drugs that can be resold, or they combine a patient number with a false provider number and file

made-up claims with insurers.” 15

        63.     According to Tom Kellermann, chief cybersecurity officer of cybersecurity firm

Carbon Black, “Health information is a treasure trove for criminals [because] by compromising it,

by stealing it, by having it sold, you have seven to 10 personal identifying characteristics of an




12
    The dark web refers to encrypted content online that cannot be found using conventional search engines
and can only be accessed through specific browsers and software. MacKenzie Sigalos, The dark web and
how to access it (Apr. 14, 2018), https://www.cnbc.com/2018/04/13/the-dark-web-and-how-to-access-
it.html (last accessed Feb. 28, 2023).
13
   Here’s How Much Your Personal Information Is Selling for on the Dark Web,
https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-information-is-selling-for-
on-the-dark-web/ (last accessed Feb. 28, 2023); McFarland et al., The Hidden Data Economy, at 3,
https://www.scribd.com/document/514735648/rp-hidden-data-economy (last accessed Feb. 28, 2023).
14
   Hackers,     Breaches,     and    the    Value     of    Healthcare     Data    (June     20,    2021),
https://www.securelink.com/blog/healthcare-data-new-prize-hackers/ (last accessed Feb. 28, 2023).
15
   Jim Finkle, Your medical record is worth more to hackers your credit card, Reuters,
https://www.reuters.com/article/us-cybersecurity-hospitals/your-medical-record-is-worth-more-to-
hackers-than-your-credit-card-idUSKCN0HJ21I20140924 (last accessed Feb. 28, 2023).
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individual.” 16 For this reason, a patient’s full medical records can sell for up to $1,000 on the dark

web, while credit card numbers and Social Security numbers may cost $5 or less. 17

        64.     As noted by Paul Nadrag, a software developer for medical device integration and

data technology company Capsule Technologies: “The reason for this price discrepancy—like any

other good or service—is perceived value. While a credit card number is easily canceled, medical

records contain a treasure trove of unalterable data points, such as a patient’s medical and

behavioral health history and demographics, as well as their health insurance and contact

information. Once records are stolen, cybercriminals often tap into members of a criminal network

on the dark web experienced in drug trafficking and money laundering who are eager to buy

medical records to support their criminal activities, such as illegally obtaining prescription

medications, filing bogus medical claims or simply stealing the patient’s identity to open credit

cards and fraudulent loans.” 18

        F.      Defendants Harmed Plaintiffs and Class Members
                By Allowing Criminals to Access Their Information.

        65.     Defendants knew or should have known both that medical information is incredibly

valuable to threat actors and that healthcare data breaches are on the rise. Accordingly, Defendants

were on notice for the harms that could ensue if they failed to protect customers’ Personal

Information.




16
   Andrew Steger, What Happens to Stolen Healthcare Data? (Oct. 30, 2019),
https://healthtechmagazine.net/article/2019/10/what-happens-stolen-healthcare-data-perfcon (last accessed
Feb. 28, 2023).
17
    Paul Nadrag, Here’s How Much Your Personal Information Is Selling for on the Dark Web (Dec. 6,
2017),       https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-information-is-
selling-for-on-the-dark-web/ (last visited Feb. 28, 2023).
18
   Industry Voices—Forget credit card numbers. Medical records are the hottest items on the dark web
(Jan. 26, 2021), https://www.fiercehealthcare.com/hospitals/industry-voices-forget-credit-card-numbers-
medical-records-are-hottest-items-dark-web (last visited Feb. 28, 2023).
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       66.     Given the private and valuable nature of the Personal Information stolen in the Data

Breach—including Social Security number, date of birth, driver’s license number, financial

account information, health insurance policy number, Medical Record Number, Medicaid or

Medicare ID, and health information such as treatment and diagnosis info—threat actors have the

ability to commit identity theft, financial fraud, and other identity-related fraud against Plaintiffs

and Class Members now and into the indefinite future.

       67.     Plaintiffs and Class Members, the victims of the Data Breach, have suffered (and

will continue to suffer) ongoing, imminent, and impending threat of identity theft crimes, fraud,

and abuse, resulting in monetary loss and economic harm; actual identity theft crimes, fraud, and

abuse, resulting in monetary loss and economic harm; loss of the confidentiality of the stolen

confidential data; the illegal sale of the compromised data on the dark web; expenses and/or time

spent on credit monitoring and identity theft insurance; time spent scrutinizing bank statements,

credit card statements, and credit reports; expenses and/or time spent initiating fraud alerts,

decreased credit scores and ratings; lost work time; and other economic and non-economic harm.

As detailed above, hackers were able to totally compromise Defendants’ system.

       68.     The PII and PHI exposed in the Data Breach is highly coveted and valuable on

underground or black markets.

       69.     Identity thieves can use the stolen information to: (a) create fake credit cards that

can be swiped and used to make purchases as if they were the real credit cards; (b) reproduce stolen

debit cards and use them to withdraw cash from ATMs; (c) commit immigration fraud; (d) obtain

a fraudulent driver’s license or ID card in the victim’s name; (e) obtain fraudulent government

benefits; (f) file a fraudulent tax return using the victim’s information; (g) commit medical and

healthcare-related fraud; (h) access financial accounts and records; or (i) commit any number of



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other frauds, such as obtaining a job, procuring housing, or giving false information to police

during an arrest. Further, loss of private and personal health information can expose the victim to

loss of reputation, loss of employment, blackmail, extortion, and other negative effects.

       70.     While federal law generally limits an individual’s liability for fraudulent credit card

charges to $50, there are no such protections for a stolen medical identity. According to a 2015

survey on medical identity theft conducted by the Ponemon Institute, victims of medical identity

theft spent an average of $13,500 in out-of-pocket costs to resolve the crime. 19 Frequently, this

information was used to obtain medical services or treatments (59%), obtain prescription drugs

(56%), or receive Medicare and Medicaid benefits (52%). Only 14% of respondents said that the

identity thieves used the information to obtain fraudulent credit accounts, indicating that medical

information is a much more profitable market. 20

       71.     According to the Ponemon study, “[t]hose who have resolved the crime spent, on

average, more than 200 hours on such activities as working with their insurer or healthcare provider

to make sure their personal medical credentials are secured and can no longer be used by an

imposter and verifying their personal health information, medical invoices and claims and

electronic health records are accurate.” 21

       72.     Additionally, the study found that medical identity theft can have a negative impact

on reputation as 45% of respondents said that medical identity theft affected their reputation

mainly because of embarrassment due to disclosure of sensitive personal health conditions, with

19% responding that they missed out on employment opportunities as a result. 22


19
        Ponemon       Institute,    Fifth   Annual    Study     on     Medical    Identity  Theft,
https://static.nationwide.com/static/2014_Medical_ID_Theft_Study.pdf?r=65 (last accessed Feb. 28,
2023).
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   Id. at 9.
21
   Id. at 2.
22
   Id. at 14.
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       73.     Exacerbating the problem, victims of medical identity theft oftentimes struggle to

resolve the issue because HIPAA regulations require the victim to be personally involved in the

resolution of the crime. 23 In some cases, victims may not even be able to access medical records

using their personal information because they include a false name or data points taken from

another person’s records. Consequently, only 10% of medical identity theft victims responded

that they “achiev[ed] a completely satisfactory conclusion of the incident.” 24

       74.     Moreover, it can take months or years for victims to even discover they are the

victim of medical-related identity theft or fraud given the difficulties associated with accessing

medical records and healthcare statements. For example, the FTC notes that victims may only

discover their identity has been compromised after they:

               •       Receive a bill for medical services they did not receive;

               •       Get contacted by a debt collector about medical debt they do not owe;

               •       See medical collection notices on their credit report that they do not

                       recognize;

               •       Find erroneous listings of office visits or treatments on their explanation

                       of benefits;

               •       Receive information from their health plan that they have reached their

                       limit on benefits; or

               •       Be denied insurance because their medical records show a condition they

                       do not have. 25



23
   Id. at 1.
24
   Id.
25
     FTC, Medical Identity Theft FAQs for Health Care Providers and Health Plans,
https://www.ftc.gov/system/files/documents/plain-language/bus75-medical-identity-theft-faq-health-care-
health-plan.pdf (last accessed Feb. 28, 2023).
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        75.     Other types of medical fraud include “leveraging details specific to a disease or

terminal illness, and long-term identity theft.” 26 According to Tom Kellermann, “Traditional

criminals understand the power of coercion and extortion. By having healthcare information—

specifically, regarding a sexually transmitted disease or terminal illness—that information can be

used to extort or coerce someone to do what you want them to do.”27 Long-term identity theft

occurs when fraudsters combine a victim’s data points, including publicly-available information

or data points exposed in other data breaches, to create new identities, open false lines of credit, or

commit tax fraud that can take years to remedy.

        76.     As explained further by the FTC, medical identity theft can have other serious

consequences:

                Medical ID thieves may use your identity to get treatment – even surgery –
                or to bilk insurers by making fake claims. Repairing damage to your good
                name and credit record can be difficult enough, but medical ID theft can
                have other serious consequences. If a scammer gets treatment in your name,
                that person’s health problems could become a part of your medical record.
                It could affect your ability to get medical care and insurance benefits, and
                could even affect decisions made by doctors treating you later on. The
                scammer’s unpaid medical debts also could end up on your credit report. 28

        77.     As the result of the wide variety of injuries that can be traced to the Data Breach,

Plaintiffs and Class Members have and will continue to suffer economic loss and other actual harm

for which they are entitled to damages, including, but not limited to, the following:

                a.      losing the inherent value of their Personal Information;




26
       Steger,    What     Happens       to    Stolen    Healthcare    Data?     (Oct.    30,      2019),
https://healthtechmagazine.net/article/2019/10/what-happens-stolen-healthcare-data-perfcon (last accessed
Feb. 28, 2023).
27
   Id.
28
     Medical ID Theft: Health Information for Older People, Federal Trade Commission,
https://web.archive.org/web/20201019075254/https://www.consumer.ftc.gov/articles/0326-medical-id-
theft-health-information-older-people (last accessed Feb. 28, 2023).
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    b.    identity theft and fraud resulting from the theft of their Personal

          Information;

    c.    costs associated with the detection and prevention of identity theft and

          unauthorized use of their financial accounts;

    d.    costs associated with purchasing credit monitoring, credit freezes, and

          identity theft protection services;

    e.    unauthorized charges and loss of use of and access to their financial

          account funds and costs associated with inability to obtain money from

          their accounts or being limited in the amount of money they were

          permitted to obtain from their accounts, including missed payments on

          bills and loans, late charges and fees, and adverse effects on their credit;

    f.    lowered credit scores resulting from credit inquiries following fraudulent

          activities;

    g.    costs associated with time spent and the loss of productivity or the

          enjoyment of one’s life from taking time to address and attempt to

          mitigate and address the actual and future consequences of the Data

          Breach, including discovering fraudulent charges, cancelling and reissuing

          cards, purchasing credit monitoring and identity theft protection services,

          imposing withdrawal and purchase limits on compromised accounts; and

    h.    the continued imminent and certainly impending injury flowing from

          potential fraud and identify theft posed by their Personal Information

          being in the possession of one or many unauthorized third parties.




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       78.       Even in instances where a consumer is reimbursed for a financial loss due to

identity theft or fraud, that does not make that individual whole again as there is typically

significant time and effort associated with seeking reimbursement that is not refunded. The

Department of Justice’s Bureau of Justice Statistics found that identity theft victims “reported

spending an average of about 7 hours clearing up the issues” relating to identity theft or fraud. 29

       79.       There may also be a significant time lag between when personal information is

stolen and when it is actually misused. According to the GAO, which conducted a study regarding

data breaches:

                 [L]aw enforcement officials told us that in some cases, stolen data may be

                 held for up to a year or more before being used to commit identity theft.

                 Further, once stolen data have been sold or posted on the Web, fraudulent

                 use of that information may continue for years. As a result, studies that

                 attempt to measure the harm resulting from data breaches cannot necessarily

                 rule out all future harm. 30


       80.       Plaintiffs and Class Members place significant value in data security. According

to a recent survey conducted by cyber-security company FireEye, approximately 50% of

consumers consider data security to be a main or important consideration when making purchasing

decisions and nearly the same percentage would be willing to pay more in order to work with a




29
   E. Harrell, U.S. Department of Justice, Victims of Identity Theft, 2014 (revised Nov. 13, 2017),
http://www.bjs.gov/content/pub/pdf/vit14.pdf (last accessed Feb. 28, 2023).
30
   U.S. Gov’t Accountability Off., GAO-07-737, Personal Information: Data Breaches Are Frequent, but
Evidence of Resulting Identity Theft is Limited; However, the Full Extent Is Unknown (2007),
http://www.gao.gov/new.items/d07737.pdf (last accessed Feb. 28, 2023).
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provider that has better data security. Likewise, 70% of consumers would provide less personal

information to organizations that suffered a data breach. 31

       81.     Because of the value consumers place on data privacy and security, companies with

robust data security practices can command higher prices than those who do not. Indeed, if

consumers did not value their data security and privacy, Defendants would have no reason to tout

their data security efforts to their actual and potential customers.

       82.     Consequently, had consumers known the truth about Defendants’ data security

practices—that they did not adequately protect and store their Personal Information—they would

not have entrusted their Personal Information to Defendants.

                               CLASS ACTION ALLEGATIONS

        83.    Plaintiffs bring this class action on behalf of themselves and on behalf of all others

similarly situated pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of Civil

Procedure.

       All natural persons residing in the United States whose PII was compromised in the
       Data Breach.

        84.    The Nationwide Class asserts claims against Defendants for negligence (Count 1),

breach of express contract (Count 2), breach of implied contract (Count 3), unjust enrichment

(Count 4), breach of implied covenant of good faith and fair dealing (Count 5), negligent

misrepresentation (Count 6), invasion of privacy by intrusion (Count 7), breach of fiduciary duty

(Count 8), and breach of confidence (Count 9).

        85.    Excluded from the Class are Defendants, any entity in which any Defendant has a

controlling interest, and any Defendant’s officers, directors, legal representatives, successors,


31
  Jeff Goldman, eSecurity Planet, 52 Percent of Consumers Would Pay More for Products or Services with
Better Data Security (May 19, 2016) https://www.esecurityplanet.com/networks/consumers-would-pay-
more-for-products-or-services-with-better-data-security/ (last visited Feb. 28, 2023).
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subsidiaries, and assigns. Also excluded from the Class are any judicial officer presiding over this

matter, members of their immediate family, and members of their judicial staff.

        86.       Plaintiffs reserve the right to modify or amend the definitions of the proposed Class

before the Court determines whether certification is appropriate.

        87.       This action satisfies the requirements for a class action under F.R.C.P. 23(a)(1) -

(a)(4), including requirements of numerosity, commonality, typicality, and adequacy of

representation.

        88.       This action satisfies the requirements for a class action under Rule 23(a)(1).

Plaintiffs believe that the proposed Class as described above consists of at least hundreds of

covered individuals and can be identified through Defendants’ records, though the exact number

and identities of Class Members are currently unknown. The Class is therefore so numerous that

joinder of all members, whether otherwise required or permitted, is impracticable.

        89.       This action satisfies the requirements for a class action under Rule 23(a)(2).

Common questions of fact and law exist for each cause of action and predominate over questions

affecting only individual Class Members. Common questions include, but are not limited to, the

following:

                  a.     Whether Defendants had a duty to protect the Personal Information;

                  b.     Whether Defendants failed to take reasonable and prudent security

                         measures;

                  c.     Whether Defendants were negligent in failing to implement reasonable and

                         adequate security procedures and practices;

                  d.     Whether Defendants’ security measures to protect their systems were

                         reasonable in light of known legal requirements;



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              e.      Whether Defendants’ efforts (or lack thereof) to ensure the security of

                      customers’ Personal Information were reasonable in light of known legal

                      requirements;

              f.      Whether Defendants’ conduct constituted unfair or deceptive trade

                      practices;

              g.      Whether Defendants violated state law when they failed to implement

                      reasonable security procedures and practices;

              h.      Which security procedures and notification procedures Defendants should

                      be required to implement;

              i.      Whether Defendants violated state consumer protection and data breach

                      statutes in connection with the actions described herein;

              j.      Whether Defendants failed to notify Plaintiffs and Class Members as soon

                      as practicable and without delay after the data breach was discovered;

              k.      Whether Defendants’ conduct, including their failure to act, resulted in or

                      was the proximate cause of the Data Breach and/or the loss of the Personal

                      Information of Plaintiffs and Class Members;

              l.      Whether Plaintiffs and Class Members were injured and suffered damages

                      or other losses because of Defendants’ failure to reasonably protect their

                      Personal Information; and

              m.      Whether Plaintiffs and Class Members are entitled to damages or injunctive

                      relief.

        90.   This action satisfies the requirements for a class action under Rule 23(a)(3). The

claims asserted by Plaintiffs are typical of the claims of the members of the Class they seek to



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represent because, among other things, Plaintiffs and Class Members sustained similar injuries as

a result of Defendants’ uniform wrongful conduct; Defendants owed the same duty to each class

member; and Class Members’ legal claims arise from the same conduct by Defendants.

        91.    This action satisfies the requirements for a class action under Rule 23(a)(4).

Plaintiffs will fairly and adequately represent and protect the interests of the Class. Plaintiffs have

no interests conflicting with the interests of Class Members. Plaintiffs’ Counsel are competent

and experienced in data breach class action litigation.

        92.    This action satisfies the requirements for a class action under Rule 23(b)(3). The

class litigation is an appropriate method for fair and efficient adjudication of the claims involved.

Class action treatment is superior to all other available methods for the fair and efficient

adjudication of the controversy alleged herein; it will permit a large number of Class Members to

prosecute their common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of evidence, effort, and expense that hundreds of individual actions would

require. Class action treatment will permit the adjudication of relatively modest claims by certain

class members, who could not individually afford to litigate a complex claim against large

corporations, like Defendant. Further, even for those class members who could afford to litigate

such a claim, it would still be economically impractical and impose a burden on the courts.

        93.    The nature of this action and the nature of laws available to Plaintiffs and the

Classes make the use of the class action device a particularly efficient and appropriate procedure

to afford relief to Plaintiffs and the Classes for the wrongs alleged because Defendants would

necessarily gain an unconscionable advantage since Defendants would be able to exploit and

overwhelm the limited resources of each of the Class Members with superior financial and legal

resources; the costs of individual suits could unreasonably consume the amounts that would be



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recovered; proof of a common course of conduct to which Plaintiffs were exposed is representative

of that experienced by the Classes and will establish the right of each Class Member to recover on

the cause of action alleged; and individual actions would create a risk of inconsistent results and

would be unnecessary and duplicative of this litigation.

        94.    The litigation of the claims brought herein is manageable. Defendants’ uniform

conduct, the consistent provisions of the relevant laws, and the ascertainable identities of Class

and Sub-class Members demonstrates that there would be no significant manageability problems

with prosecuting this lawsuit as a class action.

        95.    This case is appropriate for certification because prosecuting separate actions by

individual proposed Class Members would create the risk of inconsistent adjudications and

incompatible standards of conduct for Defendants or would be dispositive of the interests of

members of the proposed Class.

        96.    The Class is defined by reference to objective criteria, and there is an

administratively feasible mechanism to determine who fits within the Class. The Class consists of

individuals who received services and whose information was supplied to Defendants. Class

members can be determined using Defendants’ records in its databases, which is presumably also

how Defendants were able to provide notice of breach letters to Plaintiffs and Class Members.

        97.    Unless a Class-wide injunction is issued, Plaintiffs and Class Members remain at

risk that Defendants will continue to fail to properly secure the Private Information of Plaintiffs

and Class Members resulting in another data breach, continue to refuse to provide proper

notification to Class Members regarding the Data Breach, and continue to act unlawfully as set

forth in this Class Action Complaint.




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        98.     Defendants have acted or refused to act on grounds generally applicable to the

Classes and, accordingly, final injunctive or corresponding declaratory relief with regard to the

Classes as a whole is appropriate under Rule 23(b)(2) of the Federal Rules of Civil Procedure.

                                      CAUSES OF ACTION

                                   FIRST CAUSE OF ACTION
                                          Negligence

        99.     Plaintiffs repeat the allegations contained in the preceding paragraphs as if fully set

forth herein.

        100. Defendants require any individual that uses their services to submit their Personal

Information to Defendants. Defendants collect and store this Personal Information as a part of

their regular business activities, and for their own pecuniary gain.

        101. Defendants had a non-delegable duty to maintain adequate and commercially

reasonable data security practices to ensure the protection of customers’ Personal Information.

        102. Defendants knew or should have known that their systems were vulnerable to

unauthorized access and exfiltration by third parties.

        103. Defendants owed a duty of care to Plaintiffs and Class Members to provide security,

consistent with industry standards, to ensure that the systems and networks adequately protected

the Personal Information.

        104. Defendants’ duty to use reasonable security measures arose as a result of the special

relationship that existed between Defendants and Plaintiffs and Class Members. The special

relationship arose because Plaintiffs and Class Members entrusted Defendants with their

confidential data as part of the health treatment process. Only Defendants were in a position to

ensure that they had sufficient safeguards to protect against the harm to Plaintiffs and Class

Members that would result from a data breach.


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        105. Defendants’ duty to use reasonable care in protecting Personal Information arose

as a result of the common law and the statutes, as well as their own promises regarding privacy

and data security to customers. This duty exists because Plaintiffs and Class Members were the

foreseeable and probable victims of any inadequate security practices.            By collecting and

maintaining personal and confidential information of Plaintiffs and Class Members and

acknowledging that this information needed to be kept secure, it was foreseeable that they would

be harmed in the future if Defendants did not protect Plaintiffs’ and Class Members’ information

from threat actors.

        106. Defendants’ duties also arose under Massachusetts Law which, as described above,

applied to Defendants and required Defendants to “develop, implement, and maintain a

comprehensive information security program that is written in one or more readily accessible parts

and contains administrative, technical, and physical safeguards that are appropriate to . . . the need

for security and confidentiality of both consumer and employee information.” 201 CMR 17.03.

The confidential data at issue in this case constitutes “consumer . . . information” within the

meaning of 201 CMR 17.03.

        107. Defendants knew or should have known, of the risks inherent in collecting and

storing Personal Information, the vulnerabilities of its systems, and the importance of adequate

security.

        108. Defendants breached their common law, statutory, and other duties – and thus was

negligent – by failing to use reasonable measures to protect customers’ Personal Information.

        109. Defendants breached their duties to Plaintiffs and Class Members in numerous

ways, including by:




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               a.       Failing to exercise reasonable care and implement adequate security

                        systems, protocols, and practices sufficient to protect Plaintiffs’ and Class

                        Members’ Personal Information;

               b.       Failing to comply with industry-standard data security standards during the

                        period of the Data Breach;

               c.       Failing to adequately monitor, evaluate, and ensure the security of

                        Plaintiffs’ network and systems; and

               d.       Failing to recognize in a timely manner that Plaintiffs’ and other Class

                        Members’ Personal Information had been compromised.

        110. Plaintiffs’ and Class Members’ Personal Information would not have been

compromised but for Defendants’ wrongful and negligent breach of their duties.

        111. Defendants’ failure to take proper security measures to protect sensitive Personal

Information of Plaintiffs and Class Members created conditions conducive to a foreseeable,

intentional criminal act, namely the unauthorized access of Plaintiffs’ and Class Members’

Personal Information.

        112. It was also foreseeable that Defendants’ failure to provide timely and adequate

notice of the Data Breach would result in injury to Plaintiffs and Class Members as described in

this Complaint.

        113. Neither Plaintiffs nor the other Class Members contributed to the Data Breach and

subsequent misuse of their Personal Information.

        114. As a direct and proximate cause of Defendants’ conduct, Plaintiffs and Class

Members suffered damages and will suffer damages including, but not limited to: damages arising

from identity theft or fraud; damages from lost time and effort to mitigate the actual and potential



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impact of the Data Breach on their lives including, inter alia, by placing “freezes” and “alerts”

with credit reporting agencies, contacting their financial institutions, closing or modifying

financial accounts, closely reviewing and monitoring their credit reports and accounts for

unauthorized activity, and filing police reports and damages from identity theft, which may take

years to discover and detect; and loss of the value of their privacy and confidentiality of the stolen

confidential data, including health data.

                                 SECOND CAUSE OF ACTION
                                  Breach Of Express Contract

         115. Plaintiffs re-allege and incorporates by reference the preceding paragraphs as if

fully set forth herein.

         116. Plaintiffs and Class Members entered into written agreements with Defendants as

part of the insurance services Defendants provided to Plaintiffs and Class Members. The

agreements involved a mutual exchange of consideration whereby Defendants provided these

services in exchange for payment from Class Members.

         117. Plaintiffs and Class Members paid Defendants for their services and performed

under these agreements.

         118. Defendants’ failure to protect Plaintiffs’ and Class Members’ Personal Information

constitutes a material breach of the terms of these agreements by Defendants.

         119. As a direct and proximate result of Defendants’ breaches of express contract,

Plaintiffs and Class Members have suffered injury and are entitled to damages in an amount to be

proven at trial.

                                  THIRD CAUSE OF ACTION
                                   Breach Of Implied Contract

         120. Plaintiffs re-allege and incorporate by reference the preceding paragraphs as if fully

set forth herein.

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            121. Plaintiffs and Class Members were required to provide their Personal Information

to the Defendants as a condition of their use of their services.

            122. Plaintiffs and Class Members paid money to the Defendants in exchange for

services, along with the Defendants’ promise to protect their Personal Information from

unauthorized access and disclosure. Defendants’ privacy policy is clear that is ““committed to

protecting the privacy of individuals who visit the Company’s web sites, individuals who register

to use our services, and individuals who register to attend the Company’s corporate events.” 32

            123. Implicit in the agreement between Plaintiffs and Class Members and the Defendants

to provide Personal Information was Defendants’ obligation to: (a) use such Personal Information

for business purposes only, (b) take reasonable steps to safeguard that Personal Information, (c)

prevent unauthorized disclosures of the Personal Information, (d) provide Plaintiffs and Class

Members with prompt and sufficient notice of any and all unauthorized access and/or theft of their

Personal Information, (e) reasonably safeguard and protect the Personal Information of Plaintiffs

and Class Members from unauthorized disclosure or uses, and (f) retain the Personal Information

only under conditions that kept such information secure and confidential.

            124. When Plaintiffs and Class Members provided their PII and PHI to the Defendants,

they entered into implied contracts with the Defendants, pursuant to which Defendants agreed to

reasonably protect such information.

            125. In entering into such implied contracts, Plaintiffs and Class Members reasonably

believed and expected that Defendants’ data security practices complied with relevant laws and

were consistent with industry standards.




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     See Progress Software’s privacy policy, available at https://www.progress.com/legal/privacy-policy.

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         126. Defendants’ failure to safeguard the data in its care represents a breach of its

implicit agreement with Plaintiffs and the Class.

         127. Plaintiffs and Class Members seek damages, injunctive relief, and other and further

relief as the Court may deem just and proper.

                                FOURTH CAUSE OF ACTION
                                    Unjust Enrichment

         128. Plaintiffs re-allege and incorporate by reference the preceding paragraphs as if fully

set forth herein.

         129. For years and continuing to today, Defendants’ business models depended upon

customers entrusting them with their Personal Information. Trust and confidence are critical and

central to both the services provided by Defendants to customers.

         130. Unbeknownst to Plaintiffs and Class Members, however, Defendants failed to

reasonably or adequately secure, safeguard, and otherwise protect Plaintiffs’ and Class Members’

Personal Information. Defendants’ deficiencies described herein were contrary to its security

messaging.

         131. Plaintiffs and Class Members engaged Defendants for services and provided

Defendants with, and allowed Defendants to collect, their Personal Information on the mistaken

belief that Defendants complied with their duty to safeguard and protect customers’ Personal

Information.    Defendants knew that the manner in which they maintained and transmitted

customers’ Personal Information violated their fundamental duties to Plaintiffs and Class Members

by disregarding industry-standard security protocols to ensure confidential information was

securely transmitted and stored.




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        132. Defendants had within their exclusive knowledge at all relevant times the fact that

they had failed to implement adequate security measures to keep customers’ Personal Information

secure. This information was not available to Plaintiff, Class Members, or the public at large.

        133. Defendants also knew that Plaintiffs and Class Members expected that their

information would be kept secure against known security risks vetted before they received

customers’ Personal Information. And based on this expectation and trust, Defendants knew that

Plaintiffs and Class Members would not have disclosed Personal Information to them.

        134. Plaintiffs and Class Members did not expect that Defendants would store or

transmit their Personal Information insecurely.

        135. Had Plaintiffs and Class Members known about Defendants’ deficient security

practices, Plaintiffs and Class Members would not have engaged Defendants to perform any

services and would never have provided Defendants with their Personal Information.

        136. By withholding these material facts, Defendants put their own interests ahead of

their customers’ interests and benefited themselves to the detriment of Plaintiffs and Class

Members.

        137. As a result of their conduct as alleged herein, Defendants sold more services than

they otherwise would have and were able to charge Plaintiffs and Class Members when they

otherwise could not have. Defendants were unjustly enriched by charging and collecting for those

services to the detriment of Plaintiffs and Class Members.

        138. To be sure, this is not a question of whether Defendants misused customers’

Personal Information. It is more foundational. Defendants promised to protect and safeguard

Plaintiffs’ and Class Members’ Personal Information at all times (from the inception of their




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relationship of trust and confidence) and never would have performed any services of value

enabling them to bill or collect payment but for Defendants’ unfair and deceptive practices.

         139. It would be inequitable, unfair, and unjust for Defendants to retain these wrongfully

obtained benefits.     Defendants’ retention of wrongfully obtained monies would violate

fundamental principles of justice, equity, and good conscience.

         140. Defendants’ defective security and their unfair and deceptive conduct have, among

other things, caused Plaintiffs and Class Members to unfairly incur substantial time and/or costs

to mitigate and monitor the use of their private Personal Information.

         141. Plaintiffs and members of the proposed Class are entitled to restitution and non-

restitutionary disgorgement in the amount by which Defendants were unjustly enriched, to be

determined at trial. Plaintiffs and Class Members seek damages, injunctive relief, and other and

further relief as the Court may deem just and proper.

                               FIFTH CAUSE OF ACTION
                Breach Of Implied Covenant Of Good Faith And Fair Dealing

         142. Plaintiffs re-allege and incorporate by reference the preceding paragraphs as if fully

set forth herein.

         143. Plaintiffs and Class Members entered into valid, binding, and enforceable express

or implied contracts with Defendants, as alleged above.

         144. These contracts were subject to implied covenants of good faith and fair dealing

that all parties would act in good faith and with reasonable efforts to perform their contractual

obligations (both explicit and fairly implied) and not to impair the rights of the other parties to

receive the rights, benefits, and reasonable expectations under the contracts. These included the

implied covenants that Defendants would act fairly and in good faith in carrying out its contractual




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obligations to take reasonable measures to protect Plaintiffs’ and Class Members’ Personal

Information and to comply with industry standards and federal and state laws and regulations.

        145. A “special relationship” exists between Defendants and the Plaintiffs and Class

Members. Defendants entered into a “special relationship” with Plaintiffs and Class Members

who sought insurance services from Defendants and, in doing so, entrusted Defendants, pursuant

to their requirements, with their Personal Information.

        146. Despite this special relationship with Plaintiff, Defendants did not act in good faith

and with fair dealing to protect Plaintiffs’ and Class Members’ Personal Information.

        147. Plaintiffs and Class Members performed all conditions, covenants, obligations, and

promises owed to Defendants.

        148. Defendants’ failure to act in good faith in implementing the security measures

required by the contracts denied Plaintiffs and Class Members the full benefit of their bargain, and

instead they received insurance and related services that were less valuable than what they paid

for and less valuable than their reasonable expectations under the contracts. Plaintiffs and Class

Members were damaged in an amount at least equal to this overpayment.

        149. Defendants’ failure to act in good faith in implementing the security measures

required by the contracts also caused Plaintiffs and Class Members to suffer actual damages

resulting from the theft of their Personal Information and remain at imminent risk of suffering

additional damages in the future.

        150. Accordingly, Plaintiffs and Class Members have been injured as a result of

Defendants’ breach of the covenant of good faith and fair dealing and are entitled to damages

and/or restitution in an amount to be proven at trial.




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                                  SIXTH CAUSE OF ACTION
                                  Negligent Misrepresentation

         151. Plaintiffs re-allege and incorporate by reference the preceding paragraphs as if fully

set forth herein.

         152. Defendants negligently and recklessly misrepresented material facts, pertaining to

the provision of services, to Plaintiffs and Class Members by representing that they would maintain

adequate data privacy and security practices and procedures to safeguard Plaintiffs’ and Class

Members’ Personal Information from unauthorized disclosure, release, data breaches, and theft.

         153. Defendants negligently and recklessly misrepresented material facts pertaining to

the provision of services to Plaintiffs and Class Members by representing that they did and would

comply with the requirements of relevant federal and state laws pertaining to the privacy and

security of Plaintiffs’ and Class Members’ Personal Information.

         154. Defendants either knew or should have known that their representations were not

true.

         155. In reliance upon these misrepresentations, Plaintiffs and Class Members obtained

services from Defendants.

         156. Had Plaintiffs and Class Members, as reasonable persons, known of Defendants’

inadequate data privacy and security practices, or that Defendants were failing to comply with the

requirements of federal and state laws pertaining to the privacy and security of Plaintiffs’ and Class

Members’ Personal Information, they would not have purchased health services from Defendants,

and would not have entrusted their Personal Information to Defendants.

         157. As     a   direct   and    proximate    consequence      of   Defendants’     negligent

misrepresentations, Plaintiffs and Class Members have suffered the injuries alleged above.




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                               SEVENTH CAUSE OF ACTION
                               Invasion Of Privacy By Intrusion

         158. Plaintiffs re-allege and incorporate by reference the preceding paragraphs as if fully

set forth herein.

         159. Plaintiffs and Class Members had a reasonable expectation that Defendants would

maintain the privacy of the Personal Information that Defendants collected and maintained.

         160. Defendants represented to Plaintiffs and Class Members that they would not

disclose their Personal Information except in a handful of clearly defined and disclosed

circumstances.

         161. Despite representations to the contrary, Defendants failed to protect and safeguard

the Personal Information entrusted to them by Plaintiffs and Class Members and in so doing

intruded on the private and personal affairs of Plaintiffs and Class Members in a manner highly

offensive to a reasonable person; invaded the privacy of Plaintiffs and Class Members by

disclosing, without authorization, the Personal Information of Plaintiffs and Class Members,

inconsistent with both the purpose of the collection of the Personal Information and inconsistent

with the uses of said Personal Information previously disclosed to Plaintiffs and Class Members;

failed to provide sufficient security to protect the Personal Information of Plaintiffs and Class

Members from unauthorized access; and enabled, by failing to protect it sufficiently, the disclosure

of Personal Information without the consent of Plaintiffs or Class Members.

         162. Defendants knew, or acted with reckless disregard in not knowing, that the Personal

Information collected from Plaintiffs and Class Members was, because of its nature, subject to a

significant risk of unauthorized access.




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         163. Defendants knew, or acted with reckless disregard in not knowing, that a reasonable

person would consider its failure to adequately protect and secure their Personal Information to be

highly offensive.

         164. Defendants’ disclosure of Plaintiffs’ and Class Members’ Personal Information

without their consent constituted a violation of the privacy of Plaintiffs and Class Members.

         165. Defendants’ failure to provide sufficient security to protect the Personal

Information of Plaintiffs and Class Members, leading to unauthorized access to that data by

unauthorized parties constituted the unlawful publication of that Personal Information by

Defendants.

         166. The Personal Information disclosed in the Data Breach was not generally known to

the public and is not a matter of legitimate public concern.

         167. Plaintiffs and Class Members had a reasonable expectation of the privacy of the

Personal Information that they provided to Defendants. That reasonable expectation was thwarted

by Defendants’ actions and inactions and Defendants’ conduct constituted an invasion of

Plaintiffs’ and Class Members’ privacy.

         168. As a direct and proximate result of Defendants’ negligent conduct, Plaintiffs and

Class Members have suffered injury and are entitled to damages in an amount to be proven at trial

as well as restitution and injunctive relief.

                                  EIGHTH CAUSE OF ACTION
                                    Breach Of Fiduciary Duty

         169. Plaintiffs re-allege and incorporate by reference the preceding paragraphs as if fully

set forth herein.

         170. In providing their Personal Information to Defendants, Plaintiffs and Class

Members justifiably placed special confidence in Defendants to act in good faith and with due


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regard to the interests of Plaintiffs and Class Members in order to safeguard and keep confidential

their Personal Information.

        171. Defendants accepted the special confidence placed in them by Plaintiffs and Class

Members, as evidenced by its assertion stated above in their privacy notices and policies. There

was understanding between the parties that Defendants would act for the benefit of Plaintiffs and

Class Members in preserving the confidentiality of the Personal Information.

        172. In light of the special relationship between Defendants, Plaintiff, and the Class

Members, whereby Defendants became the guardian of Plaintiffs’ and the Class Members’

Personal Information, Defendants accepted a fiduciary duty to act primarily for the benefit of its

employees, including Plaintiffs and Class Members. This duty included safeguarding Plaintiffs’

and the Class Members’ Personal Information.

        173. Defendants’ acceptance and storage of Plaintiffs’ and Class Members’ PII and PHI

created a fiduciary relationship between Defendants, on one hand, and Plaintiffs and Class

Members, on the other. As fiduciaries of Plaintiffs and Class Members, Defendants had a duty to

act primarily for the benefit of their customers and health plan participants, which includes

implementing reasonable, adequate, and statutorily compliant safeguards to protect Plaintiffs’ and

Class Members’ PII and PHI.

        174. Defendants breached their fiduciary duties to Plaintiffs and Class Members by

failing to encrypt and otherwise protect the integrity of its computer systems containing Plaintiffs’

and Class Members’ Personal Information.

        175. Defendants breached their fiduciary duty by failing to ensure that confidentiality

and integrity of electronic Personal Information Defendants created, received, maintained, and

transmitted.



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        176. Defendants breached their fiduciary duties by failing to implement technical

policies and procedures for electronic information systems that maintain electronic Personal

Information to allow access only to those persons or software programs that have been granted

access rights.

        177. Defendants breached their fiduciary duties by failing to implement policies and

procedures to prevent, detect, contain, and correct security violations.

        178. Defendants breached their fiduciary duties by failing to identify and respond to

suspected or known security incidents and to mitigate, to the extent practicable, harmful effects of

security incidents that are known to the covered entity.

        179. Defendants breached their fiduciary duties by impermissibly and improperly using

and disclosing Personal Information that is and remains accessible to unauthorized persons.

        180. Defendants breached their fiduciary duties by failing to design, implement, and

enforce policies and procedures establishing physical and administrative safeguards to reasonably

safeguard PII.

        181. Defendants breached their fiduciary duties by otherwise failing to safeguard

Plaintiffs’ and the Class Members’ Personal Information.

        182. As a direct and proximate result of Defendants’ breaches of their fiduciary duties,

Plaintiffs and Class Members have suffered and will suffer injury, including but not limited to: (i)

actual identity theft; (ii) the compromise, publication, and/or theft of their Personal Information;

(iii) out-of-pocket expenses associated with the prevention, detection, and recovery from identity

theft and/or unauthorized use of their Personal Information; (iv) lost opportunity costs associated

with effort expended and the loss of productivity addressing and attempting to mitigate the actual

and future consequences of the Data Breach, including but not limited to efforts spent researching



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how to prevent, detect, contest, and recover from identity theft; (v) the continued risk to their

Personal Information, which remains in Defendants’ possession and is subject to further

unauthorized disclosures so long as Defendants fail to undertake appropriate and adequate

measures to protect the Private Information in its continued possession; and (vi) future costs in

terms of time, effort, and money that will be expended as result of the Data Breach for the

remainder of the lives of Plaintiffs and Class Members.

         183. As a direct and proximate result of Defendants’ breaches of their fiduciary duties,

Plaintiffs and Class Members have suffered and will continue to suffer other forms of injury and/or

harm, and other economic and non-economic losses.

                                 NINTH CAUSE OF ACTION
                                    Breach Of Confidence

         184. Plaintiffs re-allege and incorporate by reference the preceding paragraphs as if fully

set forth herein.

         185. At all times during Plaintiffs’ and Class Members’ interactions with Defendants,

Defendants were fully aware of the confidential and sensitive nature of Plaintiffs’ and the Class

Members’ Personal Information that Plaintiffs and Class Members provided to Defendants.

         186. As alleged herein and above, Defendants’ relationship with Plaintiffs and Class

Members was governed by terms and expectations that Plaintiffs’ and Class Members’ Personal

Information would be collected, stored, and protected in confidence, and would not be disclosed

to unauthorized third parties.

         187. Plaintiffs and Class Members receiving insurance services from Defendants

provided Plaintiffs’ and the Class Members’ Private Information to Defendants with the explicit

and implicit understandings that Defendants would protect and not permit the Personal Information

to be disseminated to any unauthorized third parties.


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        188. Plaintiffs and Class Members receiving services from Defendants also provided

Plaintiffs’ and Class Members’ Personal Information to Defendants with the explicit and implicit

understandings that Defendants would take precautions to protect that Personal Information from

unauthorized disclosure.

        189. Defendants voluntarily received in confidence Plaintiffs’ and Class Members’

Personal Information with the understanding that information would not be disclosed or

disseminated to the public or any unauthorized third parties.

        190. Due to Defendants’ failure to prevent and avoid the Data Breach from occurring,

Plaintiffs’ and Class Members’ Personal Information was disclosed and misappropriated to

unauthorized third parties beyond Plaintiffs’ and the Class Members’ confidence, and without their

express permission.

        191. As a direct and proximate cause of Defendants’ actions and/or omissions, Plaintiffs

and Class Members have suffered damages.

        192. But for Defendants’ disclosure of Plaintiffs’ and Class Members’ Personal

Information in violation of the parties’ understanding of confidence, their Personal Information

would not have been compromised, stolen, viewed, accessed, and used by unauthorized third

parties. Defendants’ Data Breach was the direct and legal cause of the theft of Plaintiffs’ and Class

Members’ Personal Information as well as the resulting damages.

        193. The injury and harm Plaintiffs and Class Members suffered was the reasonably

foreseeable result of Defendants’ unauthorized disclosure of Plaintiffs’ and Class Members’

Personal Information. Defendants knew or should have known their methods of accepting and

storing Plaintiffs’ and Class Members’ Personal Information was inadequate as it relates to, at the




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very least, securing servers and other equipment containing Plaintiffs’ and Class Members’

Personal Information.

        194. As a direct and proximate result of Defendants’ breach of its confidence with

Plaintiffs and Class Members, Plaintiffs and Class Members have suffered and will suffer injury,

including but not limited to: (i) actual identity theft; (ii) the loss of the opportunity to decide how

their Personal Information is used; (iii) the compromise, publication, and/or theft of their Personal

Information; (iv) out-of-pocket expenses associated with the prevention, detection, and recovery

from identity theft, tax fraud, and/or unauthorized use of their Personal Information; (v) lost

opportunity costs associated with effort expended and the loss of productivity addressing and

attempting to mitigate the actual and future consequences of the Data Breach, including but not

limited to efforts spent researching how to prevent, detect, contest, and recover from tax fraud and

identity theft; (vi) costs associated with placing freezes on credit reports; (vii) the continued risk

of exposure to their Personal Information, which remain in Defendants’ possession and is subject

to further unauthorized disclosures so long as Defendants fail to undertake appropriate and

adequate measures to protect the Personal Information of current and former customers; and

(viii) future costs in terms of time, effort, and money that will be expended to prevent, detect,

contest, and repair the impact of the Personal Information compromised as a result of the Data

Breach for the remainder of the lives of Plaintiffs and Class Members.

        195. As a direct and proximate result of Defendants’ breaches of confidence, Plaintiffs

and Class Members have suffered and will continue to suffer other forms of injury and/or harm,

including, but not limited to, anxiety, emotional distress, loss of privacy, and other economic and

non-economic losses.




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                                  TENTH CAUSE OF ACTION
         Violation of the Massachusetts Consumer Protection Act, MASS. GEN. LAWS ch.
                                         93A, §§1, et seq.

         196. Plaintiffs repeat and reallege all allegations set forth above as if they were fully set

forth herein.

         197. Defendant is a “person” as defined by the Massachusetts Consumer Protection Act,

MASS. GEN. LAWS ch. 93A, §1.

         198. Defendants are engaged in “trade” or “commerce” defined as advertising, the

offering for sale, rent or lease, the sale, rent, lease or distribution of any services and any property,

tangible or intangible, real, personal or mixed, any security and any contract of sale of a commodity

for future delivery, and any other article, commodity, or thing of value wherever situated.

         199. Defendants are engaged in trade or commerce that directly or indirectly affects the

people of the Commonwealth of Massachusetts.

         200. Defendants have engaged in unfair or deceptive acts or practices in the conduct of

trade or commerce.

         201. Defendants misrepresented that they would keep the Private Information of

Plaintiffs and Class Members secure, private, and confidential.

         202. Defendant had a duty to keep the Private Information safe and secure under the

FTCA and regulations promulgated thereunder and MASS. GEN. LAWS ch. 93H, §2 and

regulations promulgated thereunder.

         203. Defendants failed to adequately protect and secure the Private Information.

         204. Defendants failed to comply with their obligations to protect and secure the Private

Information under the FTCA and regulations promulgated thereunder and MASS. GEN. LAWS

ch. 93H, §2 and regulations promulgated thereunder.



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        205. Defendant failed to comply with industry standards for the protection and security

of the Private Information.

        206. Defendant failed to comply with its own privacy practice relating to the protection

and security of the Private Information.

        207. Criminals were able to access Private Information through the Data Breach.

        208. Defendants had a duty to timely notify customers, including Plaintiffs and the

Class, of the Data Breach under 45 C.F.R. §164.404 and MASS. GEN. LAWS ch. 93H, §3, the

Massachusetts Security Breach statute.

        209. Although it was aware of the Data Breach, Defendant failed to timely notify its

patients of the breach, including Plaintiffs and members of the Class.

        210. The aforementioned actions and omissions constitute unfair or deceptive acts or

practices.

        211. As a result of the aforementioned actions and omissions, Plaintiffs and members of

the Class have suffered, and will continue to suffer, injury in an amount to be determined at trial,

including, but not limited to: the loss of the benefit of their bargain with Defendants; losses from

fraud and identity theft; costs for credit monitoring and identity protection services; time and

expenses incurred protecting themselves from fraudulent activity; loss of value of their Private

Information; and an increased, imminent risk of fraud and identity theft.

        212. As a result of the aforementioned actions and omissions, Plaintiffs and the Class

seek their actual damages, statutory damages, treble damages, punitive damages, their costs and

reasonable attorneys’ fees, and any injunctive or equitable relief needed to secure Private

Information in the possession, custody, and control of Defendants and their agents.




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         213. A demand identifying the claimant and reasonably describing the unfair or

deceptive act or practice relied upon and the injury suffered was mailed or delivered to Defendants

at least thirty days prior to the filing of a pleading alleging this claim for relief.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of members of the Class, as

applicable, prays for and respectfully requests that the Court enter judgment in their favor and

against Defendants, as follows:

            a. That the Court certify this action as a class action, proper and maintainable pursuant

                to M.G.I. c. 149, §150, and Mass. R. Civ. P. 23; declare that Plaintiffs are proper

                class representatives; and appoint Plaintiffs’ counsel as Class Counsel;

            b. That the Court grant permanent injunctive relief to prohibit Defendants from

                continuing to engage in the unlawful acts, omissions, and practices described

                herein;

            c. Awarding Plaintiffs and the Class equitable and injunctive relief, as may be

                appropriate. Plaintiff, on behalf of themselves and the Class, seeks appropriate

                injunctive relief designed to prevent Defendants from experiencing another data

                breach by adopting and implementing best data security practices to safeguard

                Personal Information and to provide or extend credit monitoring services and

                similar services to protect against all types of identity theft and medical identity

                theft;

            d. That the Court award Plaintiffs and Class Members compensatory, consequential,

                and general damages in an amount to be determined by a jury at trial;

            e. That the Court order disgorgement and restitution of all earnings, profits,

                compensation, and benefits received by Defendants as a result of its unlawful acts,
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       omissions, and practices;

   f. That the Court award statutory damages, trebled, and punitive or exemplary

       damages, to the extent permitted by law;

   g. That the Court award to Plaintiffs the costs and disbursements of the action, along

       with reasonable attorneys’ fees, costs, and expenses;

   h. That the Court award pre-and post-judgment interest at the maximum legal rate;

       and

   i. That the Court grant all such other relief as it deems just and proper.

                          DEMAND FOR JURY TRIAL

Plaintiffs demands a jury trial on all claims so triable.

Dated: October 5, 2023

                                               /s/ D. Greg Blankinship
                                               D. Greg Blankinship (BBO# 655430)
                                               Todd S. Garber (pro hac vice application
                                               forthcoming)
                                               FINKELSTEIN, BLANKINSHIP,
                                               FREI-PEARSON & GARBER, LLP
                                               One North Broadway, Suite 900
                                               White Plains, New York 10601
                                               Tel: (914) 298-3281
                                               gblankinship@fbfglaw.com
                                               tgarber@fbfglaw.com




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                                                          COVER 1-3 SHEET
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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                         DEFENDANTS
       HADJ GHALEM, and MARTIN FOTH WILLMANN on                                                            PROGRESS SOFTWARE COMPANY, IPSWITCH, INC.and
       behalf of themselves and all others similarly situated,                                             UMASS CHAN MEDICAL SCHOOL,
   (b) County of Residence of First Listed Plaintiff                                                        County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                          NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                     THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                Attorneys (If Known)
          FINKELSTEIN, BLANKINSHIP, FRE-PEARSON & GARBER, LLP
          One North Broadway, Suite 900 White Plains, New York 10601
          914-298-3281
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                     PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                       Citizen of This State            1        ✖ 1      Incorporated or Principal Place         4     4
                                                                                                                                                      of Business In This State

  2    U.S. Government              ✖ 4    Diversity                                             Citizen of Another State          ✖ 2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                                 Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                   Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                    Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                              TORTS                              FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability         690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                                                     400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                        Personal Injury                                                 820 Copyrights                   430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’              Product Liability                                               830 Patent                       450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                               835 Patent - Abbreviated         460 Deportation
       Student Loans                  340 Marine                          Injury Product                                                      New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product                  Liability                                                       840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                       LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud               710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending              Act                                                                485 Telephone Consumer
✖ 190 Other Contract                      Product Liability           380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal                  Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                      385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                      463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                        Sentence                                                            or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                        871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment                  Other:                        462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                          Other                       550 Civil Rights                  Actions                                                                State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖ 1    Original          2 Removed from                     3      Remanded from              4 Reinstated or              5 Transferred from     6 Multidistrict                      8 Multidistrict
       Proceeding          State Court                             Appellate Court              Reopened                     Another District         Litigation -                       Litigation -
                                                                                                                             (specify)                Transfer                           Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                        28 U.S.C. §1332(d)(2)
VI. CAUSE OF ACTION Brief description of cause: Negligence, Breach Of Express Contract, Breach Of Implied Contract, Unjust Enrichment, Breach Of Implied Covenant Of Good
                                       Faith And Fair Dealing, Negligent Misrepresentation, Invasion Of Privacy By Intrusion, Breach Of Fiduciary Duty, Breach Of Confidence
VII. REQUESTED IN     ✖ CHECK IF THIS IS A CLASS ACTION                                             DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                   5,000,000                                   JURY DEMAND:                 ✖ Yes            No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                         DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
10/5/2023                                                              /s/ D. Greg Blankinship
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                     JUDGE                           MAG. JUDGE
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                                                   UNITED STATES DISTRICT COURT
                                                    DISTRICT OF MASSACHUSETTS


1. Title of case (name of first party on each side only) Ghalem v. Progress Software Company



2. Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local
    rule 40.1(a)(1)).

              I.         160, 400, 410, 441, 535, 830*, 835*, 850, 880, 891, 893, R.23, REGARDLESS OF NATURE OF SUIT.

    ✔         II.        110, 130, 190, 196, 370, 375, 376, 440, 442, 443, 445, 446, 448, 470, 751, 820*, 840*, 895, 896, 899.


              III.       120, 140, 150, 151, 152, 153, 195, 210, 220, 230, 240, 245, 290, 310, 315, 320, 330, 340, 345, 350, 355, 360, 362,
                         365, 367, 368, 371, 380, 385, 422, 423, 430, 450, 460, 462, 463, 465, 480, 485, 490, 510, 530, 540, 550, 555, 560,
                         625, 690, 710, 720, 740, 790, 791, 861-865, 870, 871, 890, 950.
                         *Also complete AO 120 or AO 121. for patent, trademark or copyright cases.


3. Title and number, if any, of related cases. (See local rule 40.1(g)). If more than one prior related case has been filed in this
   district please indicate the title and number of the first filed case in this court.



4. Has a prior action between the same parties and based on the same claim ever been filed in this court?

                                                                                     YES    9            NO     9✔
5. Does the complaint in this case question the constitutionality of an act of congress affecting the public interest?           (See 28 USC
   §2403)

                                                                                     YES      9          NO      ✔
                                                                                                                 9
    If so, is the U.S.A. or an officer, agent or employee of the U.S. a party?

                                                                                     YES      9          NO      ✔
                                                                                                                 9
6. Is this case required to be heard and determined by a district court of three judges pursuant to title 28 USC §2284?

                                                                                     YES     9           NO      9
                                                                                                                 ✔
7. Do all of the parties in this action, excluding governmental agencies of the United States and the Commonwealth of
   Massachusetts (“governmental agencies”), residing in Massachusetts reside in the same division? - (See Local Rule 40.1(d)).

                                                                                     YES     9           NO      9✔
              A.         If yes, in which division do all of the non-governmental parties reside?

                         Eastern Division     9                  Central Division    9                   Western Division        9
              B.         If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,
                         residing in Massachusetts reside?


                         Eastern Division     9✔                 Central Division    9                   Western Division        9
8. If filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (If yes,
   submit a separate sheet identifying the motions)

                                                                                     YES     9           NO      9✔
(PLEASE TYPE OR PRINT)
ATTORNEY'S NAME D. Greg Blankinship
ADDRESS One North Broadway, Suite 900, White Plains, NY 10601
TELEPHONE NO. (914) 298-3281
                                                                                                                 (CategoryForm11-2020.wpd )
